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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


ELSA MARIE HORNER,

             Plaintiff,
                                  COURT FILE NO.:       08-CV-2055 KHV/JPO
v.

KANSAS COUNSELORS, INC.

            Defendant.


                          COMPLAINT AND JURY DEMAND


                                   JURISDICTION

1.   Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d).

2.   This action arises out of the Defendant’s violations of the Fair Debt Collection

     Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”).

                                        VENUE

3.   Venue is proper in this District because the acts and transactions occurred here,

     the Plaintiff resides here, and the Defendant transacts business here.

                                       PARTIES

4.   Plaintiff, Elsa Marie Horner, is a natural person who resides in the City of Merriam,

     County of Johnson, State of Kansas.

5.   The Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).

6.   Defendant, Kansas Counselors, Inc.. is a domestic corporation with an resident

     agent address of 100 North Main, Ste. 700, Wichita, Kansas 67202.
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7.    The Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

8.    The principal purpose of the Defendant is the collection of debts using the mails

      and telephone, and the Defendant regularly attempts to collect debts alleged to be

      due another.

                               FACTUAL ALLEGATIONS

9.    Sometime prior to the filing of the instant action, the Plaintiff incurred a financial

      obligation that was primarily for personal, family or household purposes and is a

      “debt” as that term is defined by 15 U.S.C. § 1692a(5),(hereinafter the

      “Account”).

10.   Due to circumstances beyond the Plaintiff’s control the Account was not paid and

      it went into default with the creditor.

11.   Sometime thereafter, the alleged debt was assigned, placed or otherwise

      transferred to the Defendant for collection from the Plaintiff.

                                       DEFENDANT

12.   Sometime in the year prior to the date of the filing of the instant action, the

      Plaintiff and her employer received telephone calls from representatives,

      employees and/or agents of the Defendant who were attempting to collect the

      Account. These phone calls each individually constituted a “communication” as

      defined by FDCPA § 1692a(2).

13.   During the telephone calls representatives, employees and/or agents of the

      Defendants contacted plaintiff at her place of employment after they were
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      advised by plaintiff not to telephone her at work. Employees and/or agents of the

      Defendant advised plaintiff they would continue to call her at work.

14.   Defendant’s representatives called plaintiff’s co-worker and advised the co-

      worker to “tell [plaintiff] that KCI called.”

15.   The foregoing acts and omissions were undertaken by the Defendant and its

      representatives, employees and / or agents as part of a campaign of abusive and

      unlawful collection tactics directed at the Plaintiff.

16.   The Defendant and its representatives, employees and/or agents above listed

      statements and actions constitute harassment or abuse and therefore violate

      FDCPA 1692d preface and d(2).

17.   The Defendant and its representatives, employees and/or agents above listed

      statements and actions constitute false or misleading representations and violate

      FDCPA 1692e preface, e(2)(A), e(3), e(4), e(5), e(7) and e(10).

18.   The Defendant and its representatives, employees and/or agents above listed

      statements and actions involve unfair practices and           false statements in

      collecting a debt and therefore constitute unfair or unconscionable means to

      collect or attempt to collect a debt and violate FDCPA 1692f preface and f(6)(C).

19.   The Defendant’s actions as well as that of its representatives, employees

      and/or agents were attempts to frighten, harass and abuse the Plaintiff

      into paying her alleged debt.

20.   The Defendant’s actions as well as that of its representatives, employees

      and/or agents were willful, wanton and malicious violations of the FDCPA.
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21.   As a consequence of the Defendant’s collection activities and

      communications, the Plaintiff has suffered economic loss, loss of self-

      esteem and peace of mind, and has suffered emotional distress,

      humiliation and embarrassment.




                                  RESPONDEAT SUPERIOR

22.   The representatives and/or collectors at the Defendant were employees of and

      agents for the Defendant, were acting within the course and scope of their

      employment at the time of the incidents complained of herein and were under the

      direct supervision and control of the Defendant at all times mentioned herein.

23.   The actions of the representatives and/or collectors at the Defendant are imputed

      to their employer, the Defendant.

24.   As a direct and proximate result of the aforesaid actions, the Plaintiff has suffered

      the aforementioned damages.

                              COUNT I, FDCPA VIOLATIONS

25.   The previous paragraphs are incorporated into this Count as if set forth in full.

68.   The acts and omissions of the Defendant and its representatives, employees

      and/or agents constitute numerous and multiple violations of the FDCPA,

      including but not limited to § 1692d preface, d(2), § 1692e preface, e(2)(A), e(3),

      e(4), e(5), e(7), e(10), § 1692f preface and f(6)(C).

27.   The Defendant’s violations are multiple, willful and intentional.
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28.      Pursuant to FDCPA section 1692k the Plaintiff is entitled to actual damages,

         statutory damages up to $1,000.00, reasonable attorney's fees and costs.



                                  JURY TRIAL DEMAND

The Plaintiff is entitled to and hereby demands a trial by jury. US Const. amend. 7.,

Fed. R. Civ. Pro. 38.

                          DESIGNATION OF PLACE OF TRIAL

      Plaintiff requests Kansas City, Kansas as the place of trial.



                                           PRAYER

WHEREFORE, the Plaintiff prays that the Court grants the following:

1.      Actual damages under 15 USC § 1692k(a)(1).

2.      Statutory damages under 15 USC § 1692k(a)(2)(A).

3.      Reasonable attorneys fees and costs pursuant to 15 USC § 1692k(a)(3).

4.      Such other and further relief as the Court deems just and proper

                                            Respectfully submitted,



                                            /s/ J. Mark Meinhardt
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                                            4707 College Blvd., Suite 100
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                                            913-451-9797
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                                            ATTORNEY FOR PLAINTIFF
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